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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 WILLIAM CANDELARIA,
                                                      Civil Action No. 1:20-cv-2564 (VEC)
                        Plaintiff,

       v.

ADESTO TECHNOLOGIES CORPORATION,
NELSON CHAN, NARBEH DERHACOBIAN,
HERVÉ FAGES, FRANCIS LEE, KEVIN
PALATNIK, and SUSAN UTHAYAKUMAR,

                        Defendants.


                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), consolidated

plaintiff Brooke Nereim (“Consolidated Plaintiff”) hereby voluntarily dismisses her claims in the

above-captioned consolidated action (the “Consolidated Action”) without prejudice. Defendants

have filed neither an answer nor a motion for summary judgment as to the claims of

Consolidated Plaintiff in the Consolidated Action.

Dated: April 27, 2020                                      Respectfully submitted,

                                                           By: /s/ Joshua M. Lifshitz
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